20-50805-rbk Doc#67 Filed 08/06/20 Entered 08/06/20 09:50:33 Main Document Pg 1 of 6




                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

         IN RE:                                       §       CHAPTER 11
                                                      §
         KRISJENN RANCH, LLC, et al                   §       CASE NO. 20-50805-rbk
                                                      §
                                                      §
                 DEBTOR                               §       (Jointly Administered)


                   DEBTORS’ JOINT EXPEDITED MOTION TO EXTEND
                     DEBTORS’ EXCLUSIVITY PERIOD BY 90 DAYS

  ******************************************************************************
  DEBTORS HAVE REQUESTED EXPEDITED CONSIDERATION OF THIS MOTION
  AND HAS REQUESTED THAT A HEARING BE HELD ON THIS MOTION AT THE
  COURT’S EARLIEST CONVENIENCE. IF THE COURT IN FACT SETS THIS
  MOTION FOR AN EXPEDITED HEARING, THEN ONLY ATTENDANCE AT THE
  HEARING IS NECESSARY TO PRESERVE YOUR RIGHTS
  ******************************************************************************


  TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         KrisJenn Ranch, LLC, KrisJenn Ranch, LLC Series Pipeline ROW, and KrisJenn Ranch,

  LLC Series Uvalde Ranch’s (the “Debtors”), Debtor and Debtors-in-Possession, hereby file this

  Joint Motion to Extend Debtors’ Exclusivity Period by 90 Days (the “Motion”) and in support,

  respectfully represent as follows:

                                 PROCEDURAL BACKGROUND

         1.      On April 27, 2020, (the “Petition Date”), the Debtors filed voluntary petitions for

  relief under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101-1330 (as amended,

  the “Code”). The Debtors continue to manage their financial affairs as a debtors-in-possession

  pursuant to §§ 1107 and 1108 of the Bankruptcy Code. No creditors’ committee has yet been




                                                  1
20-50805-rbk Doc#67 Filed 08/06/20 Entered 08/06/20 09:50:33 Main Document Pg 2 of 6




  appointed in this case by the United States Trustee. No trustee or examiner has been requested or

  appointed.

                                   JURISDICTION AND VENUE

         2.      This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

  and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(1), (b)(2)(A) and (M). Venue

  is proper before this Court pursuant to 28 U.S.C. §§ 1408(1) because the Debtors’ places of

  business have been located in this district for more than 180 days preceding the filing of this

  bankruptcy case.

                         BACKGROUND AND REQUEST FOR RELIEF

         3.      Debtors, KrisJenn Ranch, LLC and Series Uvale Ranch purchased the KrisJenn

  Ranch (the “Ranch”) in 2013 for $3,952,000 and then invested an additional $840,000 in the

  Ranch. The Ranch derives its income from the sale of cattle and a white-tail deer hunting lease

  operation.

         4.      The Ranch is encumbered by a $5.9 million loan from Mcleod Oil (“Mcleod”)

  related to an investment in a pipeline and its right of way. The origins of this loan are complicated.

  In 2017, Debtor and Larry Wright loaned $4.1 million and $1.2 million, respectively, to Black

  Duck, LLC (“Black Duck”). Debtor, Krisjenn Ranch, LLC owned a 50% interest in Black Duck,

  and Daniel Moore owned the other 50% interest in Black Duck. The purpose of the loans was to

  fund Black Duck’s purchase of a discontinued oil pipeline (the “Pipeline”) and right of way for $5

  million plus closing costs of the purchase. The full $4.1 million that Debtor loaned to Black Duck

  was obtained through a loan between Debtor and Asilo Investments, Ltd. (“Asilo”). The Pipeline

  and right of way were purchased pursuant to a purchase money contract that was assigned to Black

  Duck from Longbranch Energy, L.P. (“Longbranch”). Under the assignment, Longbranch retained



                                                    2
20-50805-rbk Doc#67 Filed 08/06/20 Entered 08/06/20 09:50:33 Main Document Pg 3 of 6




  a 20% net profit share interest. The terms of that agreement are currently in dispute. Daniel Moore

  sold his 50% interest in Black Duck back to the company in exchange for a 20% net profit share

  interest to his Company DMA Properties, Inc. The terms of the agreement with Moore/DMA

  Properties, Inc. are also currently in dispute.

         5.      In 2018, Black Duck sold the Pipeline and right of way to TCRG East Texas

  Pipeline 1, LLC (“TCRG”) for $2.5 million, and—as part of the deal—Black Duck retained 16%

  of the gross profit from the Pipeline and right of way. The aggregate, projected profit to Black

  Duck and other interested parties was $48,000 per day. Black Duck was unable to pay its debts to

  Debtor, and Debtor foreclosed on the note securing its loan to Black Duck. Shortly thereafter, in

  late 2018, Black Duck ceased being a going concern and was eventually wound down. The

  $2.5 million received from TCRG was allocated to Debtor to pay the debts encumbering the

  Pipeline and right of way—$1.2 million was used to repay Larry Wright, and $1.3 million was

  used to pay down the Asilo loan principal and accrued interest.

         6.      The loan from Mcleod was originally obtained to refinance the remaining

  $3.4 million loan from Asilo. Shortly after the TCRG purchase, Longbranch and Moore threatened

  TCRG with litigation for having purchased the Pipeline and right of way. As a result, Debtor

  KrisJenn Ranch, LLC agreed to repurchase the Pipeline and right of way from TCRG in 2019.

  Debtor repurchased the Pipeline and right of way under the Series Pipeline ROW by obtaining an

  additional $2.5 million in financing from Mcleod, increasing the total amount loaned from Mcleod

  to $5.9 million. All three Debtors are borrowers under the Mcleod debt.

         7.      Approximately $6.05 million is outstanding on the Mcleod debt. The Mcleod debt

  is also secured by the Pipeline and the right of way. Debtors defaulted on payments due to Mcleod

  in February 2020.



                                                    3
20-50805-rbk Doc#67 Filed 08/06/20 Entered 08/06/20 09:50:33 Main Document Pg 4 of 6




          8.     The issues regarding the pipeline are being litigation in Adversary Number 20-

  05027, which is set for trail on December 7, 2020. Debtors need to resolve the litigation to

  determine the terms for their plan of reorganization.

          9.     Pursuant to Section 1121, Debtors’ exclusivity period is set to terminate by

  operation of law on August 25, 2020. After notice and hearing, this Court has the inherent

  authority to extend the 120-day period. See 11 U.S.C. 1121(d).

          10.    Once the litigation is resolved, a confirmable plan will be promptly filed; however,

  at this juncture, a plan proposed would likely be significantly different from the final plan resulting

  in unnecessary expense.      Debtors are only requesting a 90 extension at this time believe the

  litigation may be resolved in the next 90 days through negotiation. Therefore, Debtors request the

  court extend exclusivity for filing their plans until November 25, 2020, and to solicit and confirm

  their plan until January 25, 2021.

                                CERTIFICATE OF CONFERENCE

          The undersigned certifies that he conferenced with the United States Trustee and counsel

  for Mcleod Oil, Longbranch, and DMA. DMA is unopposed and the other counsels have not yet

  responded.


                                               PRAYER

          WHEREFORE, PREMESIS CONSIDERED, the Debtors pray that the Court set this

  motion for hearing and, upon said hearing, grant Debtor a 90 day extension to their exclusivity

  period to file and confirm their plans and for such other and further relief that the Court deems

  justified.

          Dated: August 6, 2020




                                                    4
20-50805-rbk Doc#67 Filed 08/06/20 Entered 08/06/20 09:50:33 Main Document Pg 5 of 6




                                       Submitted By:
                                       MULLER SMEBERG, PLLC
                                       By:    /s/ Ronald J. Smeberg
                                       RONALD J. SMEBERG
                                       State Bar No. 24033967
                                       111 W. Sunset Rd.
                                       San Antonio, Texas 78209
                                       210-664-5000 (Tel)
                                       210-598-7357 (Fax)
                                       ron@mullwe-smeberg.com
                                       ATTORNEY FOR DEBTOR


                                    CERTIFICATE OF SERVICE

  I hereby certify that on August 6, 2020, true and correct copies of the foregoing motion will be
  forwarded electronically via the Court’s ECF System, or by U.S. first class mail, postage prepaid,
  on, all parties listed on the attached Service List.

                                       /s/ Ronald J. Smeberg
                                       RONALD J. SMEBERG


                                          SERVICE LIST
  DEBTOR                     Internal Revenue Services    101 West Main Street
                             Special Procedures Branch    Nacogdoches, Texas 75961
  KrissJenn Ranch, LLC       300 E. 8th St. STOP 5026 AUS
  410 Spyglass Rd            Austin, TX 78701             Rusk County
  Mc Queeney, TX 78123-3418                               202 N Main St,
                             Texas Comptroller of Public  Henderson, Texas 75652
  GOVERNMENT ENTITIES Account
                             Attn: Bankruptcy             Shelby County, Tax Collector
  Office of the UST          P.O. Box 149359              200 St. Augustine St.
  615 E Houston, Room 533    Austin, TX 78714-9359        Center, Texas 75935
  PO Box 1539
  San Antonio, TX 78295-1539 Angelina County Tax Assessor Tenaha ISD Tax Assessor-
                             606 E Lufkin Ave,            Collector
  U.S. Attorney              Lufkin, Texas 75901          138 College St
  Attn: Bkcy Division                                     Tenaha, TX 75974-5612
  601 NW Loop 410, Suite 600 Nacogdoches County Tax
  San Antonio, Texas 78216   Assessor Collector           Uvalde Tax Assessor
                                                          Courthouse Plaza, Box 8

                                                  5
20-50805-rbk Doc#67 Filed 08/06/20 Entered 08/06/20 09:50:33 Main Document Pg 6 of 6




  Uvalde, Texas 78801            SECURED CREIDITORS           Uvalde, TX 78801-5317

  NOTICE PARTIES                 McLeod Oil, LLC              Uvalco Supply
                                 c/o John W. McLeod, Jr.      2521 E Main St
  METTAUER LAW FIRM              700 N Wildwood Dr            Uvalde, TX 78801-4940
  c/o April Prince               Irving, TX 75061-8832
  403 Nacogdoches St Ste 1                                    Longbranch Energy
  Center, TX 75935-3810          UNSECURED                    c/o DUKE BANISTER
                                 CREIDITORS                   RICHMOND
  Albert, Neely & Kuhlmann                                    Po Box 175
  1600 Oil & Gas Building        Bigfoot Energy Services      Fulshear, TX 77441-0175
  309 W 7th St                   312 W Sabine St
  Fort Worth, TX 76102-6900      Carthage, TX 75633-2519      DMA Properties, Inc.
                                                              896 Walnut Street at US 123
  Laura L. Worsham               C&W Fuels, Inc.              BYP
  JONES, ALLEN & FUQUAY,         Po Box 40                    Seneca, SC 29678
  LLP                            Hondo, TX 78861-0040
  8828 Greenville Ave.
  Dallas, Texas 75243            Davis, Cedillo & Mendoza
                                 755 E Mulberry Ave Ste 500
  Craig Crockett                 San Antonio, TX 78212-3135
  CRAIG M. CROCKETT, PC
   5201 Camp Bowie Blvd. #200 Granstaff Gaedke & Edgmon
  Fort Worth, Texas 76107     5535 Fredericksburg Rd Ste
                              110
  Christopher S. Johns        San Antonio, TX 78229-3553
  JOHNS &COUNSEL PLLC
  14101 Highway 290 West,     Hopper's Soft Water Service
  ste 400A                    120 W Frio St
  Austin, Texas 78737         Uvalde, TX 78801-3602

  Timothy Cleveland              Larry Wright
  CLEVELAND|TERRAZAS             410 Spyglass Rd
  PLLC                           Mc Queeney, TX 78123-3418
  4611 Bee Cave Road, ste 306B
  Austin, Texas 78746            Medina Electric
                                 2308 18th St.
  DMA Properties, Inc. and       Po Box 370
  Frank Daniel Moore             Hondo, TX 78861-0370
  c/o NATALIE F. WILSON
  LANGLEY & BANACK INC.          Medina's Pest Control
  Trinity Plaza II, Suite 700    1490 S Homestead Rd
  745 East Mulberry              Uvalde, TX 78801-7625
  San Antonio, Texas 78212-
  3166                           Texas Farm Store
                                 236 E Nopal St


                                               6
